                Case 8:20-bk-00963-CPM              Doc 194      Filed 07/07/20        Page 1 of 1

[jiffyord] [Bench Order +]




                                                 ORDERED.
           Dated: July 07, 2020




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                    Case No.
                                                                          8:20−bk−00963−CPM
                                                                          Chapter 7
Trail Management, LLC, (Delaware LLC with Assets in
FLORIDA)



________Debtor*________/


     ORDER DENYING MOTION TO COMPEL WESTWATER TO PRODUCE DOCUMENTS

           THIS CASE came on for hearing on July 2, 2020 , for consideration of the Motion to
         Compel Westwater to Produce Documents (Doc. 161 ), filed by Debtor Trail
         Management, LLC, (Delaware LLC with Assets in FLORIDA) .

            For the reasons stated orally and recorded in open court, the Motion to Compel Westwater
         to Produce Documents is Denied .



             The Court in its discretion may file written findings of facts and conclusions of law at a
         later date.

            Service Instructions:

            Attorney Amber Robinson is directed to serve a copy of this order on interested
         non−CM/ECF users and file a proof of service within three (3) days of entry of the order.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly
         by two individuals.
